        Case 3:16-md-02741-VC Document 19264 Filed 09/18/24 Page 1 of 3




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13
                                UNITED STATES DISTRICT COURT
14
                               NORTHERN DISTRICT OF CALIFORNIA
15
     IN RE: ROUNDUP PRODUCTS                           MDL No. 2741
16
     LIABILITY LITIGATION                              Case No. 3:16-md-02741-VC
17
     This document relates to:
18
     John Luporini v. Monsanto Company,
19   Case No. 5:24-cv-03619-EJD

20

21             JOINT NOTICE OF UNCONSOLIDATED TAG-ALONG ACTION

22
            This case involves allegations that exposure to glyphosate-based, Roundup®-branded
23   herbicides caused the plaintiff personal injuries, including the development of non-Hodgkin’s
24   lymphoma. The case is thus a “tag-along” action within the meaning of Pretrial Order No. 1,

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26
                  JOINT NOTICE OF UNCONSOLIDATED TAG-ALONG ACTION
27                          3:16-md-02741-VC & 5:24-cv-03619-EJD
        Case 3:16-md-02741-VC Document 19264 Filed 09/18/24 Page 2 of 3




 1   entered by Judge Chhabria in In re: Roundup Products Liability Litigation, Case No. 16-md-

 2   02741-VC, MDL No. 2741, Dkt. No. 2 (“PTO 1”). Under PTO 1, “[a]ny tag-along action

     transferred to this Court or filed in this District will be automatically consolidated with this
 3
     action without the need for future motions or orders.” Id. at 1. This action was directly filed in
 4
     this district but has not been automatically consolidated in accordance with PTO 1.
 5
     Accordingly, the Parties hereby give notice that this case is a tag-along action that should be
 6
     consolidated for pretrial proceedings as part of MDL No. 2741 and re-assigned to Judge
 7   Chhabria.
 8          Respectfully submitted this 18th day of September, 2024.

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        Case 3:16-md-02741-VC Document 19264 Filed 09/18/24 Page 3 of 3




 1                                          ATTESTATION

 2          Pursuant to Civil Local Rule 5-1, I, Jennise Stubbs, attest that the signatory listed above,

     and on whose behalf this stipulation is submitted, concurs in and has authorized this filing.
 3

 4

 5                                               /s/Jennise Stubbs
                                                 Jennise Stubbs
 6                                               SHOOK, HARDY & BACON L.L.P.

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